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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

MICHAEL J. SEABORN, JR. and                   §
SUPERIOR CONSULTING GROUP,                    §
     Plaintiffs,                              §
                                              §
v.                                            §               Civil Action No. 4:21-cv-1998
                                              §
FAY SERVICING, LLC, SELENE                    §
FINANCE LP, and U.S. BANK TRUST               §
NATIONAL ASSOCIATION AS                       §
TRUSTEE OF CITIGROUP                          §
MORTGAGE LOAN TRUST 2019-E,                   §
                                              §
       Defendants.                            §

                           JOINT STIPULATION OF DISMISSAL

       Defendants Fay Servicing, LLC and U.S. Bank Trust National Association as Trustee of

CitiGroup Mortgage Loan Trust 2019-E and Plaintiffs Michael Seaborn, Jr. and Superior

Consulting Group (collectively the “Parties”), by and through their undersigned counsel, hereby

stipulate and agree that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims

and causes of action asserted or could have been asserted by Plaintiffs against Defendants are

hereby dismissed with prejudice.

                                            Respectfully submitted,

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